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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 META PLATFORMS, INC.,

                                Plaintiff,             Case No. 1:23-cv-03562-RDM

                        v.                             Judge Randolph D. Moss

 FEDERAL TRADE COMMISSION, et al.,

                                Defendants.


                    DEFENDANTS’ NOTICE OF CHANGE IN POSITION

          Defendants’ renewed motion to dismiss is currently pending before the Court. See Dkt.

38. Defendants respectfully submit this Notice to inform the Court that the then-Acting Solicitor

General has decided that the for-cause removal protections for the Commissioners of the Federal

Trade Commission in 15 U.S.C. § 41 do not comport with the separation of powers and Article II,

and that the Department of Justice will no longer defend the constitutionality of those statutory

provisions. See Ex. 1 (Acting Solicitor General’s 28 U.S.C. § 530D letter to Congress regarding

this issue, dated February 12, 2025); Dkt. 38 at 14 (Defendants’ renewal of motion to dismiss

Meta’s Article II claim for reasons stated in previous briefs); see also Dkt. 18 at 20–23 (addressing

Humphrey’s Executor v. United States, 295 U.S. 602 (1935)); Dkt. 22 at 8–9 (same); Dkt. 25 at 1

(same).

          Defendants nonetheless continue to urge the Court to dismiss Meta’s Article II claim.

Defendants continue to argue that, regardless of any infirmity with the removal provision, properly

appointed Commissioners have “the authority to carry out the functions of the office.” Dkt. 18 at

23 (quoting Collins v. Yellen, 594 U.S. 220, 258 (2021)). Additionally, Meta is not entitled to any

relief based on its Article II claim because Meta has not shown that “the President’s inability to

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fire an agency head affected the complained-of decision.” Id. at 24 (quoting Cmty. Fin. Servs.

Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616, 632 (5th Cir. 2022)). Even if Meta were to prevail on

its removal claim, the proper remedy would be severance of the offending removal provision. Dkt.

22 at 10–11; Dkt. 25 at 1–5.



Dated: May 23, 2025                                Respectfully submitted,

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                                                   Acting Assistant Attorney General

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                                                   Assistant Branch Director

                                                   /s/ Sarah M. Suwanda
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